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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES -- GENERAL

Case No.      CV 18-3093-JFW(ASx)                                         Date: November 3, 2021

Title:        Lisa Kim -v- Tinder, Inc., et al.

PRESENT:
              HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                                 None Present
              Courtroom Deputy                               Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                    ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                 None

PROCEEDINGS (IN CHAMBERS):                 ORDER GRANTING PLAINTIFF LISA KIM’S AMENDED
                                           MOTION FOR PRELIMINARY APPROVAL OF CLASS
                                           SETTLEMENT AND CERTIFICATION OF SETTLEMENT
                                           CLASS [filed 10/4/21; Docket No. 118]

       On October 4, 2021, Plaintiff Lisa Kim (“Plaintiff”) filed an Amended Motion for Preliminary
Approval of Class Settlement and Certification of Settlement Class (“Amended Motion”). On
October 8, 2021, Defendants Tinder, Inc., Match Group, LLC, and Match Group, Inc. (collectively,
“Defendants”) filed their Notice of Non-Opposition. On October 11, 2021, Proposed Intervenors
Allan Candelore (“Candelore”), Rich Allison (“Allison”), and Steve Frye (“Frye”) (collectively,
“Proposed Intervenors”) filed an Opposition.1 On October 18, 2021, Plaintiff filed a Reply. On
October 18, 2021, Defendants filed a Reply. On October 22, 2021, Plaintiff and Defendants filed a
Supplement in Support of Motion for Preliminary Approval of Class Settlement and Certification of
Settlement Class (“Supplement”). Pursuant to Rule 78 of the Federal Rules of Civil Procedure and
Local Rule 7-15, the Court found the matter appropriate for submission on the papers without oral
argument. The matter was, therefore, removed from the Court’s November 1, 2021 hearing
calendar and the parties were given advance notice. After considering the moving, opposing, and
reply papers, and the arguments therein, the Court rules as follows:

I.       Factual and Procedural Background

         A.   Factual Background


         1
         Although the Court considered the issues raised in the Proposed Intervenors’ Opposition,
the Court concludes that the objections and issues raised by the Proposed Intervenors are more
appropriately considered at the Final Fairness Hearing, after all Class Members have been given
notice and an opportunity to object or opt out of the settlement.

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        Tinder is a smartphone based dating application that is used by consumers throughout the
world, including in California. The core functionality of the application enables users to view
profiles of other users in the same geographic location and to either indicate an interest in (i.e., to
“like”) another user or, alternatively, indicate a lack of interest. If two users indicate an interest in
each other’s profile, they can then communicate with each other through the application. The
application also allows a user to indicate a heightened degree of interest in another user through a
feature known as a “Super Like.” In addition, the application offers another premium feature called
“Boost,” which allows a user to be one of the top profiles in their area for thirty minutes, which
increases their chances for a match. Users of the application may generally purchase Super Likes
for $1.59 each and a Boost for $7.00 each. Although the application may be downloaded and used
for free, certain additional or premium features can only be accessed by purchasing a subscription
to Tinder Plus or Tinder Gold, including, among other things, unlimited likes (the free version has a
daily limit), no paid advertisements, the ability to undo dislikes, the ability to view profiles in other
locales, and the ability to exert more control over other variables involved in using the application.
At the time the revised settlement was being negotiated, Defendants represented that
approximately thirty-five percent of Class Members still have active Tinder accounts. However,
after conducting further investigation, Defendants now represent that approximately twenty-five
percent of Class Members still have active Tinder accounts.

       Plaintiff is a user over the age of 29 who alleges that when she and other users over the
age of 29 purchased Tinder premium services, such as Tinder Plus or Tinder Gold, Defendants
discriminated against them based on their age by charging them a higher price for the same
services that Defendants charged consumers who were younger than 29 years old.

        On April 12, 2018, Plaintiff filed her class action Complaint against Defendants. On June
22, 2018, Plaintiff filed a First Amended Complaint, alleging claims for: (1) violation of the Unruh
Civil Rights Act, California Civil Code §§ 51 et seq.; and (2) violation of the Unfair Competition Law,
California Business & Professions Code §§ 17200, et seq.

      On June 11, 2018, Defendants filed a Motion to Compel Arbitration, claiming that Plaintiff
had agreed to arbitrate by entering into a “sign-up wrap” arbitration agreement.2 On July 12, 2018,
the Court granted Defendants’ Motion to Compel Arbitration, and on July 16, 2018, Plaintiff
appealed the Court’s ruling.

        On November 29, 2018, the parties attended a mediation with Judge Louis Meisinger (Ret.).
The parties reached a settlement on December 1, 2018. On March 1, 2019, this Court granted
Plaintiff’s Motion for Preliminary Approval of Class Settlement and, on June 19, 2019, granted
Plaintiff’s Motion for Final Approval of Class Settlement and Plaintiff’s Motion for Attorneys’ Fees,



       2
          In a sign-up wrap agreement, the consumer must click an “I agree” box, indicating that the
consumer agrees to the application’s terms of use before the consumer can access the
application. With Tinder, the consumer consents to the terms of use by tapping the Tinder Log In
button directly below a disclosure that states that doing so constitutes agreement to the terms of
use, which are available via a hyperlink. Since 2014, Tinder’s terms of use have included an
arbitration agreement.

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Costs, and Incentive Awards.3 On July 11, 2019, Allison and Frye appealed the Court’s June 19,
2019 Order. On August 17, 2021, the Ninth Circuit reversed this Court’s June 19, 2019 Order
granting Plaintiff’s Motion for Final Approval of Class Settlement Plaintiff’s Motion for Attorneys’
Fees, Costs, and Incentive Awards.

      Following remand to this Court, on September 3, 2021, the Plaintiff and Defendants
attended another mediation with Judge Meisinger. Although the case did not settle on the day of
the mediation, after subsequent discussions and with guidance from Judge Meisinger, the parties
reached agreement on the principal terms of a revised settlement and entered into an Amended
Class Action Settlement Agreement on September 24, 2021 (the “Amended Settlement
Agreement”). See Declaration of Todd M. Friedman in Support of Plaintiff’s Motion for Preliminary
Approval of Class Action Settlement and Certification of Settlement Class, Exh. A (Docket No. 118-
1).

       B.     The Settlement Class

       The “Settlement Class” is defined in the Amended Settlement Agreement as:

       Every California subscriber to Tinder Plus or Tinder Gold during the Class Period
       who at the time of subscribing was at least 29 years old and was charged a higher
       rate than younger subscribers, except those who choose to opt out of the Settlement
       Class.

Amended Settlement Agreement, § 2.21. The Class Period is from March 2, 2015 through March
1, 2019. The Settlement Class contains approximately 240,000 consumers.

       C.     The Terms of the Revised Settlement

       The value of the revised settlement has been increased, by the following changes: (1) the
injunctive relief remains the same (but is not assigned a value); (2) the automatic benefits have
been improved (with an additional Boost feature, and with an increase in the value of each Super
Like); and (3) the monetary component has been revised by increasing the cash payment to each
Class Member (from $25 to $50) making a valid claim as well as giving each of those Class
Members a pro rata share of any remaining funds in the Settlement Fund. Specifically, under the
Amended Settlement Agreement, Defendants will create a “Settlement Fund,” which is “a non-
reversionary fund in the amount of $5.2 Million to be deposited by Defendants for the purpose of
paying (i) Valid Claims, (ii) settlement administration fees and costs, (iii) incentive fee, if any,
awarded to plaintiff Lisa Kim, and (iv) an award if any, of attorneys’ fees and costs to Plaintiff’s
Counsel.” Amended Settlement Agreement, § 2.22. Pursuant to Section 3.3 of the Amended
Settlement Agreement:

       Every Settlement Class Member . . . is eligible to apply for a monetary payment by


       3
           Candelore filed an Opposition to Plaintiff’s Motion for Preliminary Approval of Class
Settlement, and Allison and Frye filed an Objection to the Settlement prior to the Court hearing
Plaintiff’s Motion for Final Approval of Class Settlement.

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       submitting a Claim Form. The payment will be in the amount of $50, subject to the
       following potential adjustments, and will [be] made in the form of a check that will be
       mailed by the Settlement Administrator:

       (a)    To the extent the amount of the Settlement Fund ($5.2 Million) would
              otherwise end up exceeding the total amount of all payments for which the
              Settlement Fund is intended to be the source of payment (the types of
              payments are covered by the Settlement Fund are listed in Section 2.22
              above), the $50 payment for each Valid Claim will be increased pro rata.

       (b)    Conversely, to the extent the amount of the Settlement Fund would otherwise
              end up being less than the total amount of payments for which the Settlement
              Fund is intended to be the source of payments, the $50 payment for each
              Valid Claim will be decreased pro rata, subject to a floor of $30 per Valid
              Claim. Defendants shall increase the Settlement Fund amount in order to
              enable payment in the amount of $30 for each Valid Claim.4

       In addition to the Settlement Fund monetary relief, Defendant will deposit: (1) fifty free
Super Likes (valued at $79.50, with each Super Like valued at its current selling price of $1.59);
and (2) one Boost (valued at its current selling price of $7) into the Tinder account of every Class
Member who has an active Tinder account as of the benefit deadline, so long as the email address
associated with the account is the same as when the Class Member purchased Tinder Plus or
Tinder Gold during the Class Period.5 Amended Settlement Agreement, § 3.2. Defendants have
determined that twenty-five percent of Class Members have active Tinder accounts. Class

       4
          Class Counsel anticipates that the claims’ participation rate would have to exceed fifty
percent, which would be uncharacteristically high for settlements of this nature, in order for the
minimum to be triggered. However, it was important to Class Counsel to guarantee that Class
Members received equal, if not greater, financial incentive to participate in the revised settlement
than in the prior settlement.
       5
           In the October 22, 2021 Supplement (Docket No. 136), the parties state that at the time
they entered into the Amended Settlement Agreement, Defendants estimated that approximately
thirty to thirty-five percent of the Settlement Class had an active Tinder account. However, after
conducting further investigation, Defendants have now determined that the percentage of the
Settlement Class with an active Tinder account is twenty-five percent. As a result, the parties have
agreed to adjust the benefits available to the members of the Settlement Class with an active
Tinder account so that the collective value of those benefits are approximately the same as if thirty-
five percent of the Settlement Class had active Tinder accounts. Accordingly, upon preliminary
approval of the revised settlement by the Court, the parties will execute an addendum to the
Amended Settlement Agreement to provide a total of seventy Super Likes and one Boost to each
member of the Settlement Class with an active Tinder account as of the benefit deadline. The
value of those benefits for each Class Member who qualifies will be $118.30, and the collective
value of those benefits would be $7,100,000. The Court has considered the enhanced benefits
that will be available under the anticipated addendum to the Amended Settlement Agreement, but
warns the parties that failure to execute the addendum will result in the denial of final approval of
the revised settlement.

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Members without active accounts will still be eligible for the automatic benefits upon reactivation of
their account. Id. The proposed Class Notice advises Class Members that they must have an
active account in place in order to receive the deposit of Super Likes and Boost. Id.

       In addition, pursuant to the Amended Settlement Agreement, Class Notice will be sent via
email to the approximately 240,000 members of the Settlement Class. Amended Settlement
Agreement, §§ 1.4, 4.3-4.4, and Exh. A-2. The Class Notice will explain that:

              Subject to final Court approval, every Class Member who does not ask to be
       excluded will automatically receive a one-time allotment of 50 Super Likes and one
       Boost at no cost, so long as the Member has a Tinder account at the time of the
       allotment. That allotment is worth $86.50, with each Super Like valued at its selling
       price of $1.59 and the Boost valued at its selling price of $7.6

               In addition, every Class Member may elect to receive additional compensation
       in the amount of $50, although the payment could end up being higher or lower than
       $50 (but in no event less than $30). As part of the settlement, Defendants will create
       a Settlement Fund in the amount of $5.2 Million to cover the costs of settlement
       administration, an award, if any, of attorneys’ fees and costs to Class Counsel, an
       award, if any, of compensation to Kim for serving as the Class Representative, and
       payment of claims submitted by Class Members to receive additional compensation.
       The amount each Class Member who submits a claim for additional compensation
       will receive will be affected by the amount available in the Settlement Fund after
       satisfying other purposes of the Settlement Fund, and by the number of Class
       Members who submit claims.

              If you submitted a Claim Form in connection with the previous settlement, you
       do not need to submit a new Claim Form. Defendants will honor your previous Claim
       Form. The Claim Form for the previous settlement offered certain benefits as
       alternatives to a cash payment. Those other benefits are not part of this new
       settlement, so you will receive payment under the new settlement regardless of which
       benefit you previously selected in the Claim Form. If you previously submitted a
       Claim Form but also submit a new Claim Form, only one form will be honored.

Id. Settlement payments will made in the form of a check that will be mailed by the Settlement
Administrator. Amended Settlement Agreement, § 3.3. Moreover, Defendants will retain and pay
from the Settlement Fund for the services of a Settlement Administrator. Defendants will also pay
from the Settlement Fund any and all costs associated with administering the revised settlement,
including Class and CAFA Notice, handling of claims and the distribution of monetary payments to
Class Members who submit a valid claim form, and developing and maintaining the Settlement
Website. Amended Settlement Agreement, §§ 4.3-4.5 and 5.4.


       6
          This paragraph of the Class Notice must be revised by the parties to reflect the addendum
to the Amended Settlement Agreement, which provides that each Class Member with an active
Tinder account as of the benefit deadline will receive 70 Super Likes and that the value of these
benefits is $118.30.

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       CAFA notice was provided within ten days after the filing of this Motion. Amended
Settlement Agreement, § 4.1. The Settlement Administrator, as a result of the prior settlement,
already has the information necessary to provide email notice to the Class Members, which
Defendants will update as appropriate.7 Amended Settlement Agreement, §§ 4.3 and 4.4.
Similarly, a Settlement Website was created as a result of the prior settlement, and the Settlement
Administrator will update the website so that it contains relevant documents pertaining to the
revised settlement, including the Amended Settlement Agreement, the Claim Form, the Class
Notice, and the Preliminary Approval Order. Amended Settlement Agreement, § 4.5.

       D.     The Scope of the Release

       The Amended Settlement Agreement provides that Class Members who do not request
exclusion from the revised settlement will release any and all claims, known or unknown, they may
have against the Released Parties arising from the claims that subscribers to Tinder Plus or Tinder
Gold were charged a higher price depending on their age. Amended Settlement Agreement, § 8.1.

       E.     Opportunity to Opt Out and Object

        Class Members will have the right to object to the terms of the revised settlement or to opt
out of the revised settlement. A Class Member who wishes to opt out of the revised settlement
must, no later than thirty days after the Class Notice Date, mail an opt-out request to counsel for
the Parties. Amended Settlement Agreement, § 4.8. A Class Member who does not opt out and
who wishes to object to the revised settlement may do so by filing with the Court and mailing to
counsel for the parties, no later than thirty days after the Class Notice Date, a notice of objection
and/or request to be heard at the Final Approval Hearing in accordance with the provisions of the
Class Notice. Amended Settlement Agreement, § 4.7.

       F.     Class Representative’s Proposed Incentive Award

       The revised settlement provides that “Plaintiff may apply to the Court for an incentive award
for services performed in representing the Settlement Class. Defendants may oppose any such
application.” Amended Settlement Agreement, § 7.2.

       G.     Class Counsel’s Application for Fees, Costs, and Expenses

       Pursuant to the Amended Settlement Agreement, Class Counsel may request an award of
attorneys’ fees plus reasonable costs, which Defendants may oppose – the so called “clear-sailing”
provision has been eliminated. Amended Settlement Agreement, § 7.1 (“Plaintiff’s Counsel may
apply to the Court for an award of attorneys’ fees, plus reasonable costs and expenses actually
incurred in connection with the Litigation. Defendant[s] may oppose any such application”). If
awarded, the payment of attorneys’ fees and reasonable costs will be made out of the Settlement


       7
         Email is the best notice practicable because Defendants generally maintain email address
data for Class Members, but not physical addresses or other information (such as landline phone
numbers) that would permit Class Counsel to efficiently conduct a reverse lookup and sent notice
via U.S. mail.

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Fund. Amended Settlement Agreement, § 2.22. Class Counsel states that they intend to request
attorneys’ fees in the amount of $1,200,000, under the lodestar and percentage of the fund
methods. However, Class Counsel will not request fees for the additional work they performed in
connection with the revised settlement, despite the increased value of the revised settlement and
the additional hours spend since the Court’s June 19, 2019 Order granting Plaintiff’s Motion for
Final Approval of Class Settlement Plaintiff’s Motion for Attorneys’ Fees, Costs, and Incentive
Awards.

II.      Legal Standard

       The settlement approval procedures take place over three stages. First, the parties present
a proposed settlement asking the Court to provide “preliminary approval” for both (a) the
settlement class and (b) the settlement terms. See, e.g., Churchill Vill., L.L.C. v. Gen. Elec., 361
F.3d 566, 575 (9th Cir. 2004) (discussing the district court's use of a preliminary approval order).
Second, if the court does preliminarily approve the settlement and class: (1) notice is sent to the
class describing the terms of the proposed settlement; (2) class members are given an opportunity
to object or opt out; and (3) the court holds a fairness hearing at which class members may appear
and support or object to the settlement. Id. Third, taking account of all of the information learned
during the aforementioned processes, the court decides whether or not to give final approval to the
settlement and class certification. Id.

III.     Discussion

       In her Motion, Plaintiff seeks: (1) preliminary certification of the Class for purposes of the
revised settlement; (2) preliminary approval of the class action revised settlement; (3) provisional
appointment of Class Counsel and Class Representative; (4) appointment of a Settlement
Administrator; and (5) a hearing date for final approval of the revised settlement.

         A.     The Settlement Class Meets the Requirements for Preliminary Class
                Certification

        In the settlement context, courts must pay “undiluted, even heightened, attention” to class
certification requirements, Amchem Products, Inc. v. Windsor, 521 U.S. 591, 620 (1997), and
conduct a “rigorous analysis.” Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541, 2551 (2011). The
party seeking class certification bears the burden of demonstrating that the four requirements of
Rule 23(a) and at least one of the requirements of Rule 23(b) have been satisfied. Id.

         Under Rule 23(a), a class action is only proper if:

         (1)    the class is so numerous that joinder of all members is impracticable;

         (2)    there are questions of law or fact common to the class;

         (3)    the claims or defenses of the representative parties are typical of the claims or
                defenses of the class; and

         (4)    the representative parties will fairly and adequately protect the interests of the class.

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 Fed. R. Civ. Proc. 23(a).

       If the Rule 23(a) prerequisites are met, the Court must decide if certification is appropriate
under Rule 23(b). In this case, Plaintiff seeks certification of the Class under Rule 23(b)(3), which
authorizes certification if:

       [T]he court finds that the questions of law or fact common to class members
       predominate over any questions affecting only individual members, and that a class
       action is superior to other available methods for fairly and efficiently adjudicating the
       controversy. The matters pertinent to these findings include:

       (A) the class members’ interests in individually controlling the prosecution or defense
       of separate actions;

       (B) the extent and nature of any litigation concerning the controversy already begun
       by or against class members;

       (C) the desirability or undesirability of concentrating the litigation of the claims in the
       particular forum; and

       (D) the likely difficulties in managing a class action.

Fed. R. Civ. P. 23(b)(3).

       “Rule 23 does not set forth a mere pleading standard. A party seeking class certification
must affirmatively demonstrate his compliance with the Rule -- that is, he must be prepared to
prove that there are in fact sufficiently numerous parties, common questions of law or fact, etc.”
Wal-Mart, 131 S. Ct. at 2551. “When considering class certification under Rule 23, district courts
are not only at liberty to, but must perform ‘a rigorous analysis [to ensure] that the prerequisites of
Rule 23(a) have been satisfied.’” Ellis v. Costco Wholesale Corp., 657 F.3d 970, 980 (9th Cir.
2011) (quoting Wal-Mart, 131 S. Ct. at 2551). “In many cases, ‘that rigorous analysis will entail
some overlap with the merits of the plaintiff’s underlying claim. That cannot be helped.’” Id.

              1.     Numerosity is Satisfied

       To satisfy the numerosity requirement of Rule 23(a), the class must be “so numerous that
joinder of all members is impracticable.” Fed. R. Civ. P. 23(a)(1). “Joinder need not be impossible
so long as potential class members would suffer a strong litigation hardship or inconvenience if
joinder were required.” Rannis v. Recchia, 2010 WL 2124096, at *3 (9th Cir. May 27, 2010) (citing
Harris v. Palms Springs Alpine Estates, Inc., 329 F.2d 909, 913-14 (9th Cir. 1964)). Courts
routinely find the numerosity requirement satisfied when the class consists of 40 or more
members. See EEOC v. Kovacevich “5” Farms, 2007 WL 1174444, at *21 (E.D. Cal. Apr. 19,
2007). In this case, the numerosity requirement is easily satisfied as Plaintiff’s proposed Class
consists of approximately 240,000 consumers.




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              2.     Commonality is Satisfied

        The commonality requirement is satisfied “if there are questions of fact and law which are
common to the class.” Fed. R. Civ. P. 23(a)(2). “The Supreme Court has recently emphasized
that commonality requires that the class members’ claims ‘depend upon a common contention’
such that ‘determination of its truth or falsity will resolve an issue that is central to the validity of
each claim in one stroke.’” Mazza v. Am. Honda Motor Co., 666 F.3d 581, 588 (9th Cir. 2012)
(quoting Wal-Mart, 131 S. Ct. at 2551) (internal alteration omitted). “What matters to class
certification is not the raising of common ‘questions’ – even in droves – but rather the capacity of a
classwide proceeding to generate common answers apt to drive the resolution of the litigation.”
Wal-Mart, 1331 S. Ct. at 2551 (quotations and citations omitted). “This does not, however, mean
that every question of law or fact must be common to the class; all that Rule 23(a)(2) requires is ‘a
single significant question of law or fact.’” Abdullah v. U.S. Security Associates, Inc., 731 F.3d 952,
957 (9th Cir. 2013) (quoting Mazza, 666 F.3d at 589).

        The Court concludes that Plaintiff has met her burden of demonstrating that there are
common questions of law and fact that will generate common answers likely to drive the resolution
of the litigation. In this case, the proposed Class Members’ claims all arise from the same factual
circumstances, specifically that consumers age 29 and older who subscribed to Tinder Plus or
Tinder Gold paid a higher price than those under the age of 29. In addition, whether or not this
policy by Defendants violated the Unruh Act and the UCL is common to all potential Class
Members and does not depend on individual factual or legal issues.

              3.     Typicality is Satisfied

        Typicality exists when “the claims or defenses of the representative parties are typical of the
claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). “Under the rule's permissive standards,
representative claims are ‘typical’ if they are reasonably co-extensive with those of absent class
members; they need not be substantially identical.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020
(9th Cir.1998). “Although the claims of the purported class representative need not be identical to
the claims of other class members, the class representative ‘must be part of the class and possess
the same interest and suffer the same injury as the class members.’” Lymburner v. U.S. Financial
Funds, Inc., 263 F.R.D. 534, 540 (N.D. Cal. 2010) (quoting General Tel. Co. of Southwest v.
Falcon, 457 U.S. 147, 156 (1982)). To assess whether or not the representative’s claims are
typical, the Court examines “‘whether other members have the same or similar injury, whether the
action is based on conduct which is not unique to the named plaintiffs, and whether other class
members have been injured by the same course of conduct.’” Hanon v. Dataproducts Corp., 976
F.2d 497, 508 (9th Cir. 1992) (quoting Schwartz v. Harp, 108 F.R.D. 279, 282 (C.D.Cal.1985)). In
addition, “class certification is inappropriate where the putative class representative is subject to
unique defenses which threaten to become the focus of the litigation.” Id. (citing cases).

       The Court concludes that Plaintiff’s claims are typical of the claims of the Class because
they arise from the same factual circumstances and raise the same legal issues.



              4.     Adequacy is Satisfied

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        Rule 23(a)(4) requires that “the representative parties will fairly and adequately protect the
interests of the class. Fed. R. Civ. P. 23(a)(4). To satisfy constitutional due process concerns,
“absent class members must be afforded adequate representation before entry of a judgment
which binds them.” Hanlon., 150 F.3d at 1020 (citing Hansberry v. Lee, 311 U.S. 32, 42-3 (1940)).
“Resolution of two questions determines legal adequacy: (1) do the named plaintiffs and their
counsel have any conflicts of interest with other class members and (2) will the named plaintiffs
and their counsel prosecute the action vigorously on behalf of the class?” Id. (citing Lerwill v.
Inflight Motion Pictures, Inc., 582 F.2d 507, 512 (9th Cir. 1978)).

        Plaintiff and Class Counsel have no conflicts of interest with other Class Members because,
for purposes of the revised settlement, Plaintiff’s claims are typical of those of other Class
Members. Plaintiff and other Class Members share the common goal of protecting and improving
consumer and privacy rights throughout California, and there is no conflict among them. In
addition, Plaintiff and Class Counsel have been prosecuting this action vigorously on behalf of the
Class. Class Counsel have extensive experience in business and corporate litigation, including the
prosecution of class actions seeking to protect privacy and consumer rights. Class Counsel is
qualified to represent the interests of the Class. Therefore, Rule 23(a)(4) is satisfied for purposes
of preliminarily certifying the Settlement Class. Because Rule 23(a)(4) is satisfied for purposes of
preliminarily certifying the Settlement Class, the Court also preliminarily appoints Plaintiff as Class
Representative, and preliminarily appoints the Law Offices of Todd M. Friedman, P.C. and
Kristensen, LLP as Class Counsel.8

              5.     Preliminary Class Certification Under 23(b)(3) is Appropriate

       Having concluded that the Rule 23(a) requirements are satisfied, the Court must consider
whether certification is appropriate under Rule 23(b)(3). In order to certify a class pursuant to Rule
23(b)(3), Plaintiff must demonstrate that (1) “the questions of law or fact common to class
members predominate over any questions affecting only individual members,” and that (2) a class
action is superior to other available methods for fairly and efficiently adjudicating the controversy.
Fed. R. Civ. P. 23(b)(3). A showing of commonality under Rule 23(a)(2) is not sufficient to fulfill the
requirements of Rule 23(b)(3). See Hanlon, 150 F.3d at 1022. To satisfy the requirements of Rule
23(b)(3), common questions must constitute a significant aspect of the case which can be resolved
for members of the class in a single action. Id. “[T]o meet the predominance requirement of Rule
23(b)(3), a plaintiff must establish that ‘the issues in the class action that are subject to generalized
proof, and thus applicable to the class as a whole . . . predominate over those issues that are
subject only to individualized proof.’” In re Visa Check/Master Money Antitrust Litig., 280 F.3d 124,
136 (2d Cir. 2001). “The overarching focus [is] whether trial by class representation would further
the goals of efficiency and judicial economy.” Vinser v. Countrywide Home Loans, Inc., 571 F.3d
935, 946 (9th Cir. 2009).

       In this case, the Court concludes that Plaintiff has demonstrated that common issues


       8
         In addition, the parties jointly propose that the Court appoint Epiq Class Action & Claims
Solutions, Inc. (“Equip”) to continue to serve as Settlement Administrator. Based upon the
recommendations of the parties, the Court appoints Equip to continue to serve as Settlement
Administrator.

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predominate and that a class action is superior for the proposed Class. The central inquiry for
purposes of the proposed revised settlement is whether Defendants violated the Unruh Act and the
UCL with their pricing scheme. “When common questions present a significant aspect of the case
and they can be resolved for all members of the class in a single adjudication, there is clear
justification for handling the dispute on a representative rather than on an individual basis.”
Hanlon, 150 F.3d at 1022.

      Accordingly, because the requirements of Rule 23(a) and 23(b)(3) have been satisfied, the
Court GRANTS Plaintiffs’ Motion requesting preliminary certification of the Class for settlement
purposes, provisional appointment of Class Counsel, provisional appointment of a Class
Representative, and appointment of a Settlement Administrator.

       B.     The Revised Settlement Meets the Requirements for Preliminary Approval

              1.     The Revised Settlement Satisfies Notice Requirements Under Rule
                     23(c)(2)(B)

        For proposed settlements under Rule 23, “[t]he court must direct notice in a reasonable
manner to all class members who would be bound by the proposal.” Rule 23(e)(1). When a class
is certified under Rule 23(b)(3), the notice must meet the requirements of Rule 23(c)(2)(B), which
requires the “best notice ... practicable under the circumstances ... to all members who can be
identified through reasonable effort.” However, actual notice is not required under Rule
23(c)(2)(B). See Silber v. Mabon, 18 F.3d 1449, 1454 (9th Cir.1994).

       The Amended Settlement Agreement provides that CAFA notice will be provided within ten
days after the filing of this Motion and Class Notice will be provided “[a]s soon as reasonably
practicable” after the Court issues this Order. Amended Settlement Agreement, §§ 4.1, 4.3, and
4.4. In addition, Defendants have already provided the Settlement Administrator with the
necessary information to contact Class Members. The Settlement Administrator has already
developed the Settlement Website and the Settlement Website will be updated no later than the
date that notices are sent to Class Members, with the updates addressing recent developments in
the case, including the revised settlement, and will contain relevant documents pertaining to the
revised settlement. Amended Settlement Agreement, §§ 4.5 and 5.3.

       The Court concludes that the parties’ notice procedure is the best practicable means
available to provide notice under the circumstances, and is reasonably calculated to provide notice
to potential Class Members and satisfies Rule 23(c)(2)(B).

         Rule 23(c)(2)(B) also requires that the notice must state in clear, concise, plain, and easily
understood language: (i) the nature of the action; (ii) the definition of the class certified;
(iii) the class claims, issues, or defenses; (iv) that a class member may enter an appearance
through an attorney if the member so desires; (v) that the court will exclude from the class any
member who requests exclusion; (vi) the time and manner for requesting exclusion; and
(vii) the binding effect of a class judgment on members under Rule 23(c)(3).

      The parties’ proposed Notice includes information about the nature of the litigation, the
scope of the class involved, and claims against Defendants. The proposed Notice also clearly

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explains that Class Members may enter an appearance (including entering an appearance through
Class Members’ own counsel), or “opt-out” of the proposed Class and the binding effect of a
judgment. Therefore, the Court concludes that the proposed Notice, with the necessary revisions
to reflect the parties’ addendum to the Amended Settlement Agreement, generally “alerts those
with adverse viewpoints to investigate and to come forward and be heard” (In re Online DVD, 779
F.3d 934, 946 (9th Cir. 2015)) and otherwise satisfies the requirements of Rule 23(c)(2)(B).

              2.     The Revised Settlement Meets the Requirements for Preliminary
                     Approval under Rule 23(e)

                     (a)     Legal Standard Under Rule 23(e)

       Settlements that take “place prior to formal class certification,” such as in this case, require
“a higher standard of fairness” and a “more probing inquiry.” See Hanlon, 150 F.3d at 1026.
These requirements are necessary because “settlements in class actions present unique due
process concerns for absent class members, including the risk that class counsel may collude with
the defendants.” In re Online DVD, 779 F.3d at 944 (internal quotations omitted). As a result, the
Court must review the relevant documents and conduct a searching inquiry “to determine whether
[the proposed settlement] is fair, adequate and free from collusion.” Hanlon, 150 F.3d at 1027.

        In determining whether a settlement that was reached prior to certification is fair, adequate,
and free from collusion, courts must “comprehensively” consider a number of factors including: (1)
a defendant's ability to pay a larger settlement; (2) the strength of the plaintiff's case; (3) the extent
of discovery completed and the stage of the proceedings; (4) the risk, expense, complexity, and
likely duration of further litigation; (5) the amount offered in settlement; (6) the experience and
views of counsel; (7) the reaction of the class members to the proposed settlement; (8) the
presence of a governmental participant; (9) whether the attorney fees request is indicative of
collusion; and (10) whether distribution favors certain class members at the expense of others.
See In re Bluetooth Headset Products Liability Litigation, 654 F.3d 935, 946–47 (9th Cir. 2011);
see also Staton v. Boeing Co., 327 F.3d 938, 974 (9th Cir. 2003); see also In re Mego Fin. Corp.
Sec. Litig., 213 F.3d 454, 458 (9th Cir. 2000) (“The district court must show that it has explored
these factors comprehensively to survive appellate review.”).

       Several of the aforementioned factors cannot be properly examined until the Final Fairness
Hearing. Therefore, at this preliminary approval stage, the Court conducts a less searching inquiry
of each factor and only requires that the proposed settlement be within the range that would likely
receive final approval by the Court. See Alberto v. GMRI, Inc., 252 F.R.D. 652, 665 (E.D. Cal.
2008) (discussing that at the preliminary stage courts merely conduct a “cursory” analysis of
fairness, seeking merely to identify any “glaring deficiencies” prior to sending notice to class
members).

                     (b)     The Revised Settlement Is the Result of Arms’ Length Negotiation

       After carefully considering the terms of the revised settlement, the Court concludes that the
revised settlement award that each Class Member will receive is fair, appropriate, and reasonable
given the purposes of the Unruh Act and UCL. See Shames, 2012 WL 5392159 at *13 (holding
that settlement was fair where the parties “negotiated a settlement that provide[d] direct payment

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to class members”); Hopson v. Hanesbrands Inc., 2009 WL 928133, at *11 (N.D. Cal. Apr. 3, 2009)
(“the benefits can be accurately traced because they are monetary payments directly to Class
Members”); Briggs v. United States, 2010 WL 1759457 (N.D. Cal. Apr. 30, 2010) (holding that
settlement agreement was fair where it did not require class members to file claim forms).
Moreover, although the Unruh Act provides for statutory damages of $4,000.00 per violation, it is
well settled that a proposed settlement may be acceptable even though it amounts to only a
percentage of the potential recovery that might be available to the class members at trial. See
e.g., National Rural Tele. Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 527 (C.D. Cal. 2004) (holding
that it is “well settled law that a proposed settlement may be acceptable even though it amounts to
only a fraction of the potential recovery”). Courts have also upheld the reasonableness of Unruh
Act class action settlements that provided for no monetary relief, but rather only injunctive relief.
See, e.g., Carter v. City of Los Angeles, 224 Cal. App. 4th 808 (2014).

        This case involves complex legal and factual issues, and the revised settlement was agreed
to after three and one-half years of adversarial litigation and arms-length settlement negotiations,
including two all day mediation session before Judge Meisinger. See In re Wireless Facilities, Inc.
Sec. Litig. II, 253 F.R.D. 607, 612 (S.D. Cal. 2008) (holding that time and effort spent examining
and investigating claims militates in favor of preliminary approval of a proposed settlement
because it indicates that there was no collusion). Defendants have vigorously contested the claims
asserted by Plaintiff, and although both sides strongly believe in the merits of their respective
cases, there are risks to both sides in continuing to litigate this case. For example, if this case
continued, Plaintiff’s primary initial challenge will be to prevail on the pending appeal of this Court’s
ruling that Plaintiff’s claims are subject to arbitration. Importantly, whether claims against
Defendants are subject to arbitration is not limited to this Plaintiff but also applies to the majority of
the Class Members because, according to Defendants, over ninety-five percent of the Class
Members have entered into the same or similar “sign-up wrap” arbitration agreements. The Ninth
Circuit has held that similar types of arbitration agreements can be a bar to class certification under
the right circumstances. See Lee v. Ticketmaster L.L.C., 817 Fed. Appx. 393 (9th Cir. 2020); see
also O’Conner v. Uber Technologies, Inc., 904 F.3d 1087 (9th Cir. 2018); see also Nguyen v.
Barnes & Noble Inc., 763 F.3d 1171, 1175-76 (9th Cir. 2014). In addition, even if Plaintiff prevails
on her appeal, Defendants would likely oppose any additional class certification motion, thereby
placing in substantial doubt whether a class will be certified in this action. Moreover, Plaintiff would
face other substantive challenges, including a likely motion for summary judgment. Similarly,
although Defendants contend that they have strong and meritorious defenses to this action and are
likely to prevail on Plaintiff’s pending appeal, Defendants recognize that if a class was certified and
Plaintiff prevailed at trial, there is a risk of a damages award substantially higher than the value of
the revised settlement. Both parties are represented by competent counsel with substantial
experience in class action litigation, who have considered the challenges of continuing to litigate
this case, and counsel believe that the proposed revised settlement accounts for the expense,
delay, and uncertainty that continued litigation, including resolution of the pending appeal, would
necessarily entail and that the proposed revised settlement is fair, reasonable, and adequate.

       Based on all the foregoing, the Court concludes that the revised settlement is the result of
intensive arms’-length negotiation, including a second all day mediation session before Judge
Meisinger, and not the result of collusion. After Plaintiff and Defendants failed to reach an
agreement at the end of the second all day mediation, the parties continued to engage in
negotiations with the assistance of Judge Meisinger by email and phone. Ultimately, with the

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guidance of Judge Meisinger, the parties were able to reach a second proposed resolution of this
case. The time and effort spent in further analysis and investigation of the claims strongly favors
preliminary approval of the proposed revised settlement, as the process clearly demonstrates that
there was absolutely no collusion. See In re Wireless Facilities, Inc. Sec. Litig. II, 253 F.R.D. 607,
610 (S.D. Cal. 2008) (“Settlements that follow sufficient discovery and genuine arms-length
negotiation are presumed fair”).

                     (c)    The Revised Settlement is Fair, Reasonable, and Adequate

       The Court also concludes that the monetary and non-monetary benefits provided for in the
revised settlement will directly and meaningfully benefit the Class. See Staton, 327 F.3d at 961
(holding that for settlement approval in the Ninth Circuit, district courts must evaluate whether “fees
and relief provisions clearly suggest the possibility that class interests gave way to self interests”);
see also Shames v. Hertz Corp., 2012 WL 5392159 at *13 (S.D. Cal. Nov. 5, 2012) (settlement
was fair where the parties “negotiated a settlement that provide[d] direct payment to class
members”). Pursuant to the Amended Settlement Agreement, Defendants have agreed to create a
$5,200,000 non-reversionary cash Settlement Fund (subject to an increase in the amount of the
fund in the event of a high claims rate), together with other substantial non-monetary and injunctive
benefits to the Class Members.9 The non-reversionary Settlement Fund adequately addresses the
concern expressed by the Ninth Circuit that the low claims rate for monetary relief in the prior
settlement would have resulted in Defendants paying a mere $45,000, which was substantially
below the attorneys’ fees awarded to Plaintiff’s counsel by increasing the cash payment to each


       9
          Class Counsel’s attorneys’ fees, if awarded, will be paid out of the Settlement Fund.
However, this is a standard feature of common fund settlements and is regularly approved,
including in cases settling claims under statutes that, like the Unruh Act, have a prevailing party
attorneys’ fee provision. See, e.g., Carrillo v. Schneider Logistics Transloading and Distrib., Inc.,
2015 WL 12698305 *6 (C.D. Cal. Sept. 24, 2015) (approving final settlement in wage and hour
class action where counsel requested fees and costs amounting to thirty-three percent of $21
million common fund); Blair v. Rent-A-Center, Inc., 2020 WL 408970 (N.D. Cal. Jan. 24, 2020)
(approving final settlement in CLRA class action where counsel requested fees amounting to thirty
percent of common fund); In re Pep Boys Overtime Actions, 2008 WL 11343369 (C.D. Cal. Nov.
12, 2008) (awarding unopposed fee request amounting to twenty-five percent of maximum
potential settlement fund amount in partially reversionary wage-and-hour class settlement).
Moreover, the prior settlement provided for a maximum award of attorneys’ fees for Class Counsel
of $1,200,000, and Defendants agreed not to contest the amount of attorneys’ fees to be awarded
as long as the award is less than $1,200,000. However, such “clear sailing” provisions are
considered troubling and a possible sign of collusion as noted by Judge Rakoff. Kim, 8 F.4th at
1180. As a result, Plaintiff and Defendants renegotiated the attorneys’ fees award provision, and
the Amended Settlement Agreement no longer contains a clear sailing provision. Instead, under
Section 7.1 of the Amended Settlement Agreement, “Plaintiff’s Counsel may apply to the Court for
an award of attorneys’ fees, plus reasonable costs and expenses actually incurred in connection
with the Litigation [and] Defendants may oppose any such request.” Because Class Counsel’s
request for attorneys’ fees will be the subject of a separate motion (as will Plaintiff’s request for an
incentive award), the Court will consider the reasonableness of that request under Rule 23(h) when
ruling on Class Counsel’s motion for attorneys’ fees and costs.

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Class Member (from $25 to $50) making a valid claim as well as giving each of those Class
Members a pro rata share of any remaining funds in the Settlement Fund. See Amended
Settlement Agreement 3.3(a) (“To the extent the amount of the Settlement Fund ($5.2 Million)
would otherwise end up exceeding the total amount of all payments for which the Settlement Fund
is intended to be the source of payment (the types of payments covered by the Settlement Fund
are listed in Section 2.22 above), the $50 payment for each Valid Claim will be increased pro
rata”); see also Kim, 8 F.4th at 1179. Moreover, to maximize the claim rate, Defendants have
agreed that valid claim forms from the prior settlement will be honored (unless the Class Member
opts out), eliminating any need for those Class Members to submit a new claim form. Amended
Settlement Agreement, § 5.2. In light of the reality of claims rates in consumer litigation (and
based on the previous claims rate), the actual amount to be paid to each Class Member who
submits or has submitted a valid claim is likely to be substantially higher than $50, because there is
no cap on a prorated adjustment to these payments.10

       The revised settlement also increases the value of the automatic benefits for Class
Members who have a Tinder account (including those who reactivate their previously closed
accounts). Under the Amended Settlement Agreement and the addendum the parties have agreed
to execute, Class Members will receive seventy Super Likes and a Boost valued at $7.00. The
Super Likes have substantially increased in value because, due to the passage of time, the a la
carte price of Super Likes is now $1.59 rather than $1.00. Moreover, Tinder no longer gives all
users one free Super Like per day, and subscribers to Tinder Plus and Tinder Gold no longer
receive five free Super Likes per day. Instead, Tinder Gold subscribers receive only five Super
Likes per week, which expire if not used during that week, and Tinder Plus subscribers no longer
receive any Super Likes. Thus, the Ninth Circuit’s concern that Super Likes were over-valued in
the prior settlement because subscribers already received a substantial allotment of Super Likes
as part of their subscriptions has now been satisfied. See Kim, 8 F.4th at 1179. With a combined
value of $118.30 for the Super Likes and Boost ($111.30 + $7.00), the value of the relief on a
class-wide basis is $28,392,000. Even if limited to the approximately twenty-five percent of the
Class Members who still have a Tinder account (ignoring the fact that other Class Members could
reactivate their accounts to participate in such relief), the value of this aspect of the settlement is
approximately $7,100,000. Thus, the Court concludes that the combined value of the claimed and
automatic benefits, in addition to the agreed injunctive relief, is more than adequate, especially
considering the hyper-technical nature of the claims in this action, the fact that, as Defendants


       10
          In addition, the revised settlement carefully avoids providing significant benefits to a cy
pres recipient at the expense of the class. See Dennis v. Kellogg Co., 697 F.3d 858, 862-63 (9th
Cir. 2012) (holding that the amount of a cy pres award “must be examined with great care to
eliminate the possibility that it serves only the ‘self-interests’ of the attorneys and the parties, and
not the class”); Lane v. Facebook, Inc., 709 F.3d 791, 793 (9th Cir. 2013) (“We require district
judges to be reasonably certain that class members will benefit before approving a cy pres
settlement”); see also Molski v. Gleich, 318 F.3d 937, 954-55 (9th Cir. 2003), overruled on other
grounds by Dukes v. Wal-Mart Stores, Inc., 603 F.3d 571 (9th Cir. 2010) (holding that a cy pres
provision is a disfavored substitute for distribution of benefits directly to class members); Nachshin
v. AOL, LLC, 663 F.3d 1034, 1038 (9th Cir. 2011) (“[T]he cy pres doctrine – unbridled by a driving
nexus between the plaintiff class and the cy pres beneficiaries – poses many nascent dangers to
the fairness of the distribution process”).

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point out, there do not appear to be any cases that have ever awarded damages under the Unruh
Act based on a plaintiff’s failure to qualify for a price discount, and the fact that approximately
ninety-five percent of the Settlement Class is bound by an arbitration agreement that, unless
Plaintiff prevails on her appeal, will preclude them from participating in a contested class action.

       For purposes of preliminary approval, the Court concludes that the terms of the proposed
revised settlement are fair, adequate, and reasonable. However, the Court’s conclusion will be
subject to further review for fairness, and evidence of overreaching and/or collusion, following
Notice to the Class Members and a Final Fairness Hearing. Accordingly, because each of the
factors weighs in favor of preliminary approval, the Court GRANTS Plaintiffs’ Motion requesting
preliminary approval of the revised class action settlement.

IV.   Conclusion

        For all the foregoing reasons, Plaintiff’s Amended Motion is GRANTED. The Court signs, as
modified, the proposed Order Granting Motion for Preliminary Approval of Class Settlement and
Certification of Settlement Class, lodged with the Court on October 4, 2021. See Docket No. 118-3.

      IT IS SO ORDERED.




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